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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

 SUSAN D. LEVIN

        Plaintiff,

                v.                             C.A. NO. 1-21-cv-00038-MSM-PAS


 BANK OF AMERICA, NA

        Defendant


          STIPULATION REGARDING DEFENDANT’S MOTION TO DISMISS
     It is hereby stipulated and agreed that the time within which Plaintiff, Susan D. Levin, shall
 answer or otherwise respond to the Motion to Dismiss filed herein by Bank of America, N.A.,
 is hereby extended to and including April 19, 2021.


   SUSAN D. LEVIN,                                   BANK OF AMERICA, N.A.
   By her Attorney,                                  By its Attorneys,

    /s/ David L. Graham                               /s/ Justin J. Shireman
           L. Graham (#3034)                          Justin J. Shireman (#7779)
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 Dated: April 9, 2021
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                              CERTIFICATE OF SERVICE

           I hereby certify that on the 9th day of April, 2021, this document, filed through the
   ECF system, will be sent electronically to the registered participants as identified on the
   Notice of Electronic Filing (NEF), and paper copies will be sent to those indicated as non-
   registered participants.

   Parties Served:

  Justin J. Shireman
  Wilson Esler Moskowitz Edelman & Dicker LLP
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  Boston, MA 02110


                                                 /s/ David L. Graham
